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      EJ Global, LLC, and Pretty Mess, Inc.                    Central District of California
                                                               BY fortier    DEPUTY CLERK
  6
  7                          UNITED STATES BANKRUPTCY COURT
  8          CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
  9 In re                                          Case No. 2:20-bk-21022-BR
 10 GIRARDI KEESE,                                 Chapter 7
 11                Debtor.                         Adv No. 2:21-ap-01155-BR
 12                                                ORDER RE: (1) DISCOVERY AND
      ELISSA D. MILLER, Chapter 7 Trustee,         FURTHER BRIEFING SCHEDULE
 13                                                ON ISSUES PRESENTED BY
                   Plaintiff,                      DISTRICT COURT’S REMAND
 14                                                ORDER, (2) CONTINUED HEARING
            v.                                     DATE ON TRUSTEE’S BRIEF
 15                                                REGARDING REMAND ORDER, AND
      ERIKA N. GIRARDI, an individual; EJ          (3) CONTINUED HEARING DATE ON
 16 GLOBAL, LLC, a limited liability               STATUS CONFERENCE RE REMAND
      company; and PRETTY MESS, INC., a            ORDER AND FINAL PRE-TRIAL
 17 corporation,                                   CONFERENCE (DKT. 116)
 18                Defendants.                     Current Hearing on Remand Issues and
                                                   Status Conference:
 19
                                                   Date:    July 16, 2024
 20                                                Time:    10:00 a.m.
                                                   Crim:    1668
 21
                                                   Continued Hearing Date:
 22
                                                   Date:    September 10, 2024
 23                                                Time:    10:00 a.m.
                                                   Crim:    1668
 24
                                                   Judge:   Hon. Barry Russell
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                                               ORDER
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  1                                     ORDER
  2        Pursuant to and based on the facts set forth in the foregoing Stipulation (Dkt. 118),
  3 and good cause appearing, the Court hereby ORDERS as follows:

  4        1.     The Parties’ Stipulation is approved.
  5        2.     For the reasons stated in the Stipulation:
  6               a. On a mutually convenient date to be agreed upon by counsel at any time
  7                  between July 1, 2024 and July 19, 2024, Defendants shall have the right
  8                  to take the deposition of Mr. Troszak pursuant to the previously served
  9                  Notice of Deposition.
 10               b. On or before August 2, 2024, the Trustee shall serve and file a
 11                  Supplemental Brief Regarding Remand Order.
 12               c. On or before August 16, 2024, Defendants shall serve and file an
 13                  Opposition to the Trustee’s Supplemental Brief Regarding Remand
 14                  Order.
 15               d. On or before August 30, 2024, the Trustee shall serve and file any reply
 16                  papers in response to Defendants’ Opposition to the Trustee’s
 17                  Supplemental Brief Regarding Remand Order.
 18               e. The hearing date on the Trustee’s Supplemental Brief Regarding Remand
 19                  Order shall be set for 10:00 a.m. on September 10, 2024.
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                                                ORDER
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  1                f. The current above-referenced hearing date shall be continued from its
  2                      current time of 10:00 a.m. on July 16, 2024 to 10:00 a.m. on September
  3                      10, 2024.
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 24 Date: May 15, 2024

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                                                 ORDER
